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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF NEW MEXICO

 

VERNITA ANN SCOTT,
Plaintiff

vs. Case Nc.

UNITED STATES OF` AMERICA,

Defeudaut

 

COMPLAINT FOR DAMAGES UNDER THE FEDERAL TORT CLAIMS ACT

 

Plaintiff, VERNITA ANN SCOTT (“Plaintifi"’), by ccunsel, for her Complaint against

the Defendaut, UNITED STATES OF AMERICA, states as fcllows:
INTRODUCTION

l) This is an action against the Det`eudant UNITED STATES OF AMERICA under
the Federal Tort Claims Act, (28 U.S.C. §2671 er Seq.) and 28 U.S.C. §1346(13)(]), for
negligence and professional malpractice in connection With medical care provided to Plaintiff by
the Northern Navajo Medical Center.

2) The claims herein are brought against the Defcndant pursuant to the Federal Tort
Claims Act (28 U.S.C. §2671 et seq.) and 28 U.S.C. §l346(b)(l), for money damages as
compensation for personal injuries caused by the Defendant’s negligence

3) Plaintiff has fully complied with the provisions of 28 U.S.C. §2675 of the Federal

TOrt Clainis Act. Standard Form 95 criticchzed as Exhibit ].

 

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4) This suit has been timely filed in that Plaintiff timely served notice of her claim
on the United States Department of Health and Human Services and the Offlce of the United
States Attorney less than two years after the incident forming the basis of this suit.

PARTIES, JURISDICTION AND VENUE

5) Plaintiff is, and at all times relevant hereto Was, a resident of San Juan County,
New l\/lexico.

6) Defendant UNITED STATES OF AMERICA operates the Northem Navajo
Medical Center located in San Juan County, New Mexico.

7) Defendant UNITED STATES OF AMERICA, including its directors, officers,
operators, administrators, employees, agents, and staff at the Northern Navajo Medical Center
are hereinafter collectively referred to as “Northern Navajo Medical Center.”

8) At all times relevant to this Complaint, the Northern Navajo Mcdieal Center held
itself out to Plaintiff as a provider of high quality health care services, With the expertise
necessary to maintain the health and safety of patients like Plaintiff.

9) At all times relevant to this complaint, the directors, cfticers, operators,
administrators, employees, agents, and staff were employed by and/or acting on behalf of the
Defendant. Furthermore, the Defendant is responsible for the negligent acts of its employees and
agents under respondeer Superior.

10) Jurisdiction is proper under 28 U.S.C. §1346(b)(l).

ll) Venue is proper under 28 U.S.C. §l402(b) in that all, or a substantial part of the

acts and omissions forming the basis of these claims occurred in the District of New Mexico.

 

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FACTUAL ALLEGATIONS

12) On or about October 21, 2014, Plaintiff underwent a routine laparoscopic
operation for removal of her gallbladder at Northern Navajo l\/ledical Center. Chief of Surgery
Crai g F. Copeland, M.D. (“Dr. Copeland”) performed the surgery.

13) The surgery Was a failure due to Dr. Copeland’s perforation of Plaintiffs
duodenum, causing sepsis. As a result, Plaintiffs health drastically deteriorated

14) Dr. Copeland and other employees of Defendant at the Northern Navajo Medical
Center were negligent and failed to adhere to appropriate medical and nursing standards by not
recognizing the perforation in a timely manner

15) On or about October 24, 2014, Dr. Copeland finally performed exploratory
surgery on Plaintiff in an attempt to identify the cause of her deteriorating condition. The second
surgery was also a failure, as Dr. Copeland failed to recognize that Plaintiff’s duodenum was
perforated Plaintiff was in the ICU until October 27, 2014, when she was transferred to another
medical facility that could care for her properly.

16) As a result of Northern Navajo Medical Center’s negligence, Plaintiff endured
significant emotional and physical distress, pain and trauma

CAUSES OF ACTION
COUNT l - NEGLIGENCE

17) Plaintiff realleges and reincorporates each and every allegation above as if fully
set forth herein.

18) Defendant had a duty to provide ordinary care, and to exercise that standard and
degree of care and skili required of health care providers, consistent With the expertise that

Defendant presented to the community at large.

 

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19) At all times relevant to this Coinplaint, Defendant had a duty to hire competent
staff in order to meet its standards of quality of care of its patients, including Plaintiff.
Defendant knew, or should have known, that Dr. Copeland was not competent in a manner
necessary to provide a level of care for Plaintiff that met all applicable legal requirements; that
demonstrated the standard and degree of care and skill required of competent health care
providers; and was consistent with the expertise that Defendant presented to the community at
large.

20) Defendant breached its duty to Plaintiff as a result of the negligence of Dr.
Copeland and other employees of the Northern Navajo Medical Center by failing to comply with
appropriate medical and nursing standards of care.

21) Defendant breached its duty by negligently reviewing, credentialing, and
employing Dr. Copeland and in continuing to grant privileges to Dr. Copeland, thereby allowing
Dr. Copeland to perform surgery at Northern Navajo Medical Center.

22) As a direct and proximate result of Defendant’s negligence, Plaintiff sustained
serious personal injuries in and about her body; she has incurred medical expenses, and other
damages, and will continue to incur medical cxpenses, and other damages in the future', she was
forced to endure pain, suffering, mental and emotional anguish; she has suffered a loss of
enjoyment of life; and she has lost wages and lost future earning capacity.

23) The acts and/or omissions set forth above constitute a claim under the laws of the
State of New l\/fexico.

24) Defendant is liable to Plaintiff.

 

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COUNT ll ~» VICARIOUS LIABILITY,
RESPONDEAT SUPERIOR, OSTENSIBLE AGENCY AND/OR AGENCY

25) Plaintiff realleges and reincorporates each and every allegation above as if fully
set forth herein.

26) At all times relevant to this case, Dr. Copeland was employed by and/or acting on
behalf of Defendant.

27) At all times relevant to this Complaint, Dr. Copeland acted within his capacity
and scope of employment for Defendant as Chief of Surgery.

28) Dr. Copeland negligently and/or recklessly, directly and proximately caused
personal injury to Plaintiff, including both acts of omission and acts of commission

29) As a direct and proximate result of Defendant’s negligence, Plaintiff sustained
serious personal injuries in and about her body; she has incurred medical expenses and other
damages; she was forced to endure pain, suffering, mental and emotional anguish; she has
suffered a loss of enjoyment of life; and she has lost wages and lost future earning capacityl

30) The acts and/or omissions set forth above constitute a claim under the laws of the
State of New Mexico.

31) Defendant is liable pursuant to 28 U.S.C. l346(b)(l).

PRAYER FOR RELIEF

WI-IEREFORE, Plaintiff respectfully seeks all damages to which she may be entitled, and
prays that judgment be entered in her favor and against Defendant, as follows:

l) l\/ledical expenses, lost wages and future lost earning capacity, pain and suffering,

future impairment, and loss of enjoyment of life totaling $3,750,000.00; and
2) Costs and attorneys’ fees incurred in this action, together with such further and

additional relief at law or in equity that this Court may deem proper.

 

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THE ROEHL LAW FIRM, P.C.

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